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                       THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


LINE CONSTRUCTION BENEFIT FUND,       )
A HEALTH AND WELFARE FUND,            )
                                      )
                           Plaintiff, )
                                      )
             v.                       )
                                      )
HICKMAN UTILITY, INC., a California   )
Corporation,                          )
                                      )
                           Defendant. )


                                    COMPLAINT

       Plaintiff, LINE CONSTRUCTION BENEFIT FUND, A HEALTH AND WELFARE

FUND, by and through its Attorneys, Robert B. Greenberg and Matthew S. Jarka of Asher,

Gittler & D'Alba, Ltd., and complaining of Defendant, HICKMAN UTILITY, INC., a

California Corporation, states as follows:

       1.     This action is brought under the provisions of Sections 502(g)(2) and 502

(a)(3), of the Employee Retirement Income Security Act of 1974 ("ERISA"), 29 U.S.C., Secs.

1132(g)(2), (a)(3), and 1145.

       2.     Jurisdiction in this Court is based upon Sections 502(e)(1) and 502(e)(2) of

ERISA [29 U.S.C. Sec. 1132(e)(1) and (e)(2)], which states in relevant part:

              Where an action under this subchapter is brought in a district
              court of the United States, it may be brought in the district
              where the plan is administered, where the breach took place,
              or where a defendant resides or may be found, and process
              may be served in any other district where a defendant resides
              or may be found.

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         3.     The LINE CONSTRUCTION BENEFIT FUND, A HEALTH AND WELFARE

FUND ("Fund") receives contributions from numerous employers pursuant to collective

bargaining agreement heretofore entered into between the IBEW Local Union 1245

("Union") and Defendant, and the Fund is maintained and administered in accordance with

and pursuant to the provisions of Section 302(c)(5) of the National Labor Relations Act, as

amended, ERISA and other applicable federal law and the Fund is administered pursuant

to the terms and provisions of a certain Restated Agreement and Declaration of Trust

("Trust Agreement").

         4.   The Fund office is located at 821 Parkview Blvd., Lombard, IL 60148-3230, and

the Fund is administered in the Northern District of Illinois.

         5.     As provided in the Trust Agreement, Plaintiff is required to receive, hold and

manage all monies required to be contributed to the Fund in accordance with the

provisions of the then applicable Collective Bargaining Agreement for the uses and

purposes set forth in the Trust Agreement.

         6.     Defendant is an employer engaged in an industry affecting commerce and

maintains its principal places of business at 414 Alta Vista Avenue, Roseville, California

95678.

         7.     Defendant employs or has employed persons represented for collective

bargaining purposes by the Union and agreed to be bound by the Collective Bargaining

Agreement or agreements referred to herein, by the terms of which Defendant was

required to contribute to the Fund.


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       8.     Plaintiff is advised and believes that Defendant has repeatedly failed to sub-

mit accurate contribution reports and the required payments thereon to the Fund pursuant

to the terms of the Collective Bargaining Agreement by which it was bound, all in violation

of its contractual obligations and its obligations under applicable federal statutes.

       9.     As a result of the above-described omissions and breaches of agreement by

Defendant, Plaintiff may be required to (a) deny the employee beneficiaries for whom

contributions have not been made the benefits provided under the benefit plan, thereby

causing to such employee beneficiaries substantial and irreparable damage, or (b) to

provide to employees of Defendant the benefits provided under the benefit plan,

notwithstanding Defendant's failure to make the required contributions thereto, thereby

reducing the corpus of such Fund and endangering the rights of the employee beneficiaries

thereunder on whose behalf contributions are being made, all to their substantial and

irreparable injury.

       10.    Plaintiff, in its behalf, and on behalf of all employees for whose benefit the

Fund was established, has requested Defendant to perform its obligations, but Defendant

has refused and failed to perform as herein alleged.

       11.    Plaintiff is without an adequate remedy at law and will suffer immediate,

continuing and irreconcilable injury and damage unless Defendant is ordered to

specifically perform all of its obligations required under the Collective Bargaining

Agreement and the Trust Agreement, and is restrained from continuing to refuse to

perform as thereunder required.


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       12.       Defendant is delinquent to the Fund for the months of September, October

and December 2017, and February, March, April, May, June and July 2018, in the amount

of $41,166.95.

       13.       Defendant’s failure to pay is a violation of the Collective Bargaining

Agreement and the Trust Agreement. Plaintiff, therefore, seek enforcement of these

provisions pursuant to Section 502(a)(3),(b)(ii) and Section 301(a) of the Labor Management

Relations Act of 1947, as amended, 29 U.S.C., Sec. 185(a).

       WHEREFORE Plaintiff prays:

       (a)       That judgment enter in favor of Plaintiff and against Defendant in the amount

of FORTY ONE THOUSAND ONE HUNDRED SIXTY SIX AND 95/100 DOLLARS

($41,166.95), and such additional monies that accrue during the pendency of this lawsuit.

       (b)       That Plaintiff be awarded its costs, including reasonable attorney's fees

incurred in the prosecution of this action as provided in the Collective Bargaining

Agreement and under the applicable provisions of ERISA, as amended.

       (c)       That interest and/or liquidated damages be assessed against Defendant as

provided in the Collective Bargaining Agreement and the applicable provisions of ERISA,

as amended.

       (d)       That Defendant be specifically ordered to furnish to Plaintiff the required

monthly contribution reports and payments due thereunder and to continue to perform

all obligations on Defendant’s parts according the terms and conditions of their Collective

Bargaining Agreement.


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(e)    For such other and further relief as the Court may determine just and proper.



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